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                             THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


   EXPRESS HOMEBUYERS USA,LLC,                                 )
        Plaintiff,                                             )
                                                               )   CaseNo. l:17-cv-736
               V.                                              )
                                                               )
   WBH MARKETING INC.,                                         )
        Defendant.                                             )

                                                      ORDER


          By Memorandum Opinion and initial Order dated August 14,2018, plaintiffs motion for

  summary judgment was granted as to its claims seeking cancellation of defendant's two

  trademarks,"We Buy Houses" and "We Buy Houses.com" on the ground that both marks are

  generic. Express Homebuyers USA, LLC v. WBHMktg. Inc., _ F. Supp. 3d _(E.D. Va. 2018);

  Order, Aug. 14,2018. Plaintiffs motion was also granted as to defendant's trademark

  infringement and false designation of origin counterclaims because those claims are dependent

  on the validity ofthe Marks.

           Still to be resolved in this action are defendant's six additional counterclaims, which

  allege various claims for false advertising, defamation, and conspiracy. Plaintiff seeks summary

  judgment on these counterclaims,' and defendant has filed a cross-motion for summary judgment

  on two counterclaims alleging false advertising based on plaintiffs statements about itself.

  Because there are no disputed issues of material fact with respect to these counterclaims,

  plaintiffs motion for summary judgment with respect to the remaining counterclaims—


 'Also at issue is plaintiffs motion to dismiss the false advertising counterclaims—Counterclaim Counts III, VIII
 and IX—for lack ofsubject matter jurisdiction pursuant to Rule 12(b)(1), Fed. R. Civ. P. Because the parties'
 motions for summary judgment have addressed the arguments contained in plaintiffs motion to dismiss and because
 the summary judgment record is extensive, it is appropriate here to deny plaintiffs motion to dismiss and to resolve
 all ofthe counterclaims pursuant to the parties' cross-motions for summary judgment.

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